21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 1 of
                                        21




                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

  IN RE:                                             §   CHAPTER 11
                                                     §
  DARYL GREG SMITH and,                              §   CASE NO. 21-60162-RBK-11
  CANADIAN RIVER RANCH, LLC                          §   CASE NO. 21-60163-RBK-11
                                                     §   Jointly Administered Under
                                                     §   Case No. 21-60162-rbk
           Debtors.                                  §

             FIRST AND FINAL FEE APPLICATION OF O’CONNELL LAW PLLC,
                     SPECIAL COUNSEL TO CHAPTER 11 TRUSTEE,
            FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
                    AND REIMBURSEMENT OF EXPENSES INCURRED

                     This pleading requests relief that may be adverse to your
                     interests.

                     If no timely response is filed within 21 days from the date of
                     service, the relief requested herein may be granted without a
                     hearing being held.

                     A timely filed response is necessary for a hearing to be held.

  TO THE HONORABLE RONALD B. KING,
  UNITED STATES BANKRUPTCY JUDGE:

           The Firm of O’Connell Law PLLC (“O’Connell” or “Applicant”), special counsel to

  Gregory S. Milligan (the “Trustee”), chapter 11 trustee in the above-captioned bankruptcy cases,

  submits its First and Final Application for Allowance of Compensation for Services Rendered and

  Reimbursement for Expenses Incurred (“Application”) and hereby requests: (i) final approval of

  fees earned in the amount of $9,440.00; and (ii) authority to receive payment for such amount from

  the Trustee. As detailed herein and summarized in the Fee Application Summary, submitted

  pursuant to Rule 2016(a)(1) of the Local Bankruptcy Rules and attached hereto as Exhibit A,

  O’Connell has expended 23.6 hours in this representation of the Trustee, at an average hourly rate




  040122-15051/4859-3088-9501.3                                                              Page 1
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 2 of
                                        21




  of $400.00 in representation of the Trustee during the Application Period (as defined below). In

  support thereof, O’Connell respectfully states and represents:

                                        NARRATIVE SUMMARY

           1.        Daryl Greg Smith (“Smith”) and Canadian River Ranch, LLC (together with Smith,

  the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11 of the United

  States Code (the “Bankruptcy Code”) on April 9, 2021 (the “Petition Date”).

           2.        On May 18, 2021, the Court ordered that the Debtors’ cases (the “Chapter 11

  Cases”) be jointly administered. See Order Granting Debtors’ Motion for Joint Administration

  [Doc. 29].

           3.        On June 29, 2021, the United States Trustee requested appointment of the Trustee

  in this matter, and the Court approved such appointment. See Order Approving Appointment of

  Gregory S. Milligan as Chapter 11 Trustee [Doc. 91].

           4.        The Court approved the retention of the law firm of O’Connell as special counsel

  for the Trustee in this case effective as of February 21, 2022, by an order entered March 23, 2022

  [Doc. 380] (the “Retention Order”).

           5.        O’Connell did not receive a retainer for this matter.

           6.        Pursuant to the Retention Order and Local Rules, O’Connell has served as the

  Trustee’s special counsel with all fees and expenses subject to Bankruptcy Court approval. As

  stated above, the Fee Application Summary required by Rule 2016(a)(1) of the Local Bankruptcy

  Rules is attached hereto as Exhibit A.

           7.        For O’Connell’s representation of the Trustee, the Application requests fees on an

  overall blended hourly rate of $400.00. Specifically, the professionals and paraprofessionals




  040122-15051/4859-3088-9501.3                                                                 Page 2
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 3 of
                                        21




  involved in the representation and their hourly rates for bankruptcy and non-bankruptcy

  representations are listed below:

      PROFESSIONAL/                             TITLE              HOURLY             TOTAL                  TOTAL
      PARAPROFESSIONAL                                              RATE              HOURS                   FEES
      Stephen B. O’Connell                      Partner              $400                23.6                  $9,440.00
      TOTAL                                                                              23.6                  $9,440.00

             8.       No prior applications for compensation or reimbursement of expenses have been

  made by O’Connell.

             9.       The Trustee and his representatives have reviewed the invoice requesting fees and

  have approved the amounts requested herein.

             10.      This Application covers the period from February 21, 2022 through April 4, 2022

  (the “Application Period”).1

             11.      The Compensation Support Exhibit and Reimbursement Support Exhibit required

  by Rule 2016(a)(2) and (3) of the Local Bankruptcy Rules is given in the form of detailed time

  entries for O’Connell, attached hereto as Exhibit B.

                                                     CASE STATUS

             12.      This Application constitutes O’Connell’s first and final fee application for services

  rendered in the Chapter 11 Cases during the Application Period, from the retention of O’Connell

  on February 21, 2022 through April 4, 2022. O’Connell was retained by the Trustee for the limited

  purpose of analyzing and providing an opinion on the fee mineral estate of certain property owned

  by the Debtors in connection with the sale of such property (the “Property”).




  1
      The Application does not request approval of fees or expenses incurred after that date at this time.



  040122-15051/4859-3088-9501.3                                                                                    Page 3
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 4 of
                                        21




                                  SERVICES RENDERED BY APPLICANT

            13.      O’Connell’s detailed time entries for the Application Period are attached hereto as

  Exhibit B. O’Connell has expended a total of 23.6 hours, totaling fees in the amount of $9,440.00.

                                  EXPENSES INCURRED BY O’CONNELL

            14.      O’Connell did not incur any expenses related to its representation of the Trustee

  during the Application Period.

                                          LEGAL STANDARDS

            15.      Pursuant to section 330 of the Bankruptcy Code, this Court may award to

  professional persons employed under section 327 reasonable compensation for actual, necessary

  services rendered and reimbursement for actual, necessary expenses incurred.

            16.      The Fifth Circuit has “made clear that the lodestar, Johnson factors, and § 330 [of

  the Bankruptcy Code] coalesce[ ] to form the framework that regulates the compensation of

  professionals employed by the bankruptcy estate.” In re Pilgrim’s Pride, 690 F.3d 650, 656 (5th

  Cir. 2012); see e.g. Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714 (5th Cir. 1974).

            17.      “Under this framework, bankruptcy courts must first calculate the amount of the

  lodestar.” Pilgrim’s Pride, 690 F.3d at 656. To apply the lodestar approach, the Court determines

  a reasonable attorney fee in a case by multiplying the number of hours expended by an hourly rate.

  Pennsylvania v. Delaware Valley Citizens’ Counsel for Clean Air, 478 U.S. 456 (1987).

            18.      After calculating the lodestar, the Court “then may adjust the lodestar up or down

  based on the factors contained in § 330 and [its] consideration of the twelve factors listed in

  Johnson.” Pilgrim’s Pride, 690 F.3d at 656 (quoting In re Cahill, 428 F.3d 536, 540 (5th Cir.

  2005)).




  040122-15051/4859-3088-9501.3                                                                  Page 4
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 5 of
                                        21




           19.       Section 330 of the Bankruptcy Code instructs the Court to “tak[e] into account all

  relevant factors”, including—

           a.        The time spent on such services;

           b.        The rates charged for such services;

           c.        Whether the services were necessary to the administration of, or beneficial at the
                     time at which the service was rendered toward the completion of, a case under this
                     title;

           d.        Whether the services were performed within a reasonable amount of time
                     commensurate with the complexity, importance, and nature of the problem, issue,
                     or task addressed;

           e.        With respect to a professional person, whether the person is board certified or
                     otherwise has demonstrated skill and experience in the bankruptcy field; and

           f.        Whether the compensation is reasonable based on the customary compensation
                     charged by comparably skilled practitioners in cases other than cases under this
                     title.

  Pilgrim’s Pride, 690 F.3d at 655-56 (quoting 11 U.S.C. § 330(a)(3)).

           20.       The twelve Johnson factors include the time and labor required; the novelty and

  difficulty of the questions; the skill requisite to perform the legal service properly; the preclusion

  of other employment by the attorney due to acceptance of the case; the customary fee; whether the

  fee is fixed or contingent; time limitations imposed by the client or circumstances; the amount

  involved and the results obtained; the experience, reputation and ability of the attorneys; the

  undesirability of the case; the nature and length of the profession of relationship with the client;

  and awards in similar cases. See Johnson, 488 F.2d at 717-19.

           21.       Further, the Fifth Circuit has clarified that section 330 of the Bankruptcy Code

  “explicitly contemplates compensation for attorneys whose services were reasonable when

  rendered but which ultimately may fail to produce an actual, material benefit.” In re Woerner, 783




  040122-15051/4859-3088-9501.3                                                                 Page 5
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 6 of
                                        21




  F.3d 266, 274 (5th Cir. 2015). Accordingly, whether the services rendered were reasonable or

  necessary must be considered as of the time such services were rendered and not assessed post-

  hoc with the advantage of hindsight.

           22.       Under each of the guidelines, O’Connell submits the fees requested herein are fair

  and reasonable.

                                    APPLICATION OF GUIDELINES

           23.       As required by the first step of the two-step analysis imposed by section 330(a)(1)

  analysis, all services rendered in this case by O’Connell were necessary and appropriate. The

  actions taken by O’Connell were essential to preserving the value of the assets for the estate for

  the benefit of all creditors.

           24.       Likewise with respect to the second step of the analysis, the compensation sought

  by O’Connell is competitive. O’Connell committed the expertise of partner Stephen B. O’Connell

  who, during the Application Period, worked closely with the Trustee to control fees and expenses

  related to these bankruptcy proceedings. Because Stephen B. O’Connell is the only attorney at

  O’Connell who worked on this project, the issues in this bankruptcy case have been addressed

  promptly, properly and with no duplication.

           25.       Under the lodestar method, in aggregate, O’Connell rendered 23.6 hours of service

  at an overall blended hourly rate of $400.00. O’Connell has ensured that time was spent efficiently

  and efforts were not duplicated.

           26.       The twelve Johnson factors also support approval of the fees requested in this case.

                     a.       Time and Labor Required. O’Connell expended 23.6 hours to represent the

  Trustee in the Application Period. Because Stephen B. O’Connell is the only attorney that worked




  040122-15051/4859-3088-9501.3                                                                   Page 6
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 7 of
                                        21




  on this project, O’Connell’s retention avoided any overlap and layering of attorneys, thereby

  avoiding any duplicative costs.

                     b.       Novelty and Difficulty of the Questions. Representation of the Trustee and

  the nature of this bankruptcy case involved attempting to navigate complex issues of mineral, oil,

  and property law. Because Texas title companies do not opine on mineral law, O’Connell was

  instrumental in providing advice and guidance on the mineral estates of the Property that were not

  otherwise available.

                     c.       Skill Required. This project required a high amount of skill because of the

  specialized nature of the issues at hand, and the numerous real property related issues. O’Connell

  was employed specifically for its specialized skills in providing legal advice and interpretation of

  the fee mineral estate of the Property.

                     d.       Preclusion of Other Employment.       This representation has not caused

  significant dislocation or preclusion of other employment by O’Connell.

                     e.       Customary Fee. If this case were not one under the Bankruptcy Code,

  O’Connell would charge the Trustee, and expect to receive on a current basis, an amount at least

  equal to the amounts herein requested for the professional services rendered. O’Connell represents

  and would demonstrate that the fees are competitive for this region and customary for the degree

  of skill and expertise required in the representation of the Trustee by other experienced

  professionals in this district.

                     f.       Fixed or Contingent Fee. O’Connell accepted this representation on an

  hourly basis approved by the Bankruptcy Court. Collection of all amounts are, by their nature,

  contingent on the ability of the Trustee to pay.

                     g.       Time Limitations. Time limitation was not a significant factor.



  040122-15051/4859-3088-9501.3                                                                   Page 7
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 8 of
                                        21




                     h.       Amounts and Results. O’Connell assisted the Trustee in opining on the

  mineral estate rights of the Property, where such advice was not otherwise available. O’Connell’s

  representation provided valuable information used to preserve and maximize the value of the

  Property to the estate.

                     i.       Experience, Reputation and Ability.      Stephen B. O’Connell is highly

  experienced in the examination of mineral rights. O’Connell enjoys a reputation as providing

  quality legal services without inefficiencies and duplications which occasionally occur in

  representations by larger, full service firms.

                     j.       Undesirability of the Case. There are no particular undesirable features of

  this case.

                     k.       Relationship with Client. Prior to the retention of O’Connell by the Trustee,

  O’Connell (or its attorneys while employed by another firm) had represented Mr. Milligan, Harney

  Partners and/or other partners in Harney Partners in other matters unrelated to these Debtors, or

  had otherwise been involved in cases in which Mr. Milligan, Harney Partners or other partners in

  Harney Partners were employed in other matters unrelated to these Debtors. The Trustee chose

  O’Connell because of its reputation in matters of this type.

                     l.       Awards in Similar Cases. The compensation sought by O’Connell is this

  case is the commensurate with the rates sought by professionals in other cases in this district.

                                  [Remainder of page left intentionally blank]




  040122-15051/4859-3088-9501.3                                                                     Page 8
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 9 of
                                        21




                                          CONCLUSION

           For the foregoing reasons, O’Connell requests approval of the fees and expenses as set

  forth above.

  DATED:             May 17 , 2022
                     Austin, Texas

                                              Respectfully submitted,

                                              By:      /s/ Stephen B. O’Connell
                                                    Stephen B. O’Connell
                                                    O’Connell Law PLLC
                                                    711 West Seventh Street
                                                    Austin, TX 78701
                                                    Telephone: (512) 327-4028
                                                    Email: soconnell@sbolaw.net

                                              SPECIAL COUNSEL TO GREGORY S.
                                              MILLIGAN, CHAPTER 11 TRUSTEE

                                              WALLER LANSDEN DORTCH & DAVIS, LLP

                                              By: /s/ Morris D. Weiss
                                                 Morris D. Weiss
                                                 Texas Bar No. 21110850
                                                 Courtney K. Stone
                                                 Texas Bar No. 24093208
                                                 100 Congress Ave., Suite 1800
                                                 Austin, Texas 78701
                                                 Telephone: (512) 685-6400
                                                 Facsimile: (512) 685-6417
                                                 Email:      morris.weiss@wallerlaw.com
                                                             courtney.stone@wallerlaw.com

                                              COUNSEL TO GREGORY S. MILLIGAN,
                                              CHAPTER 11 TRUSTEE




  040122-15051/4859-3088-9501.3                                                           Page 9
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 10
                                      of 21




    CERTIFICATION PURSUANT TO UNIFORM RULES, EXHIBIT H, SECTION I.G

        I hereby certify that I have (1) read this Application; (2) to the best of my knowledge,
 information and belief, the compensation and expense reimbursement sought is in conformity with
 the Guidelines for Compensation and Expense Reimbursement for Professionals, except as may
 be specifically noted in the Application; and (3) the compensation and expense reimbursement
 requested are billed at rates, in accordance with practices, no less favorable than those customarily
 employed by the Applicant and generally accepted by the Applicant’s clients.


                                               By: /s/ Stephen B. O’Connell
                                               Stephen B. O’Connell


                                  CERTIFICATE OF SERVICE

          I hereby certify that the above and foregoing Application has been served by the Court’s
 ECF e-filing notification on all parties on the attached service list on May 17, 2022. The Fee
 Application Summary, attached hereto as Exhibit A, has been served on all parties on the service
 list attached thereto as specified in its Certificate of Service.


                                               /s/ Morris D. Weiss
                                               Morris D. Weiss




 040122-15051/4859-3088-9501.3                                                               Page 10
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 11
                                      of 21



                                 SERVICE LIST - ECF PARTIES ONLY

 Debtors (via email)
 Daryl Greg Smith                                Steve Stasio
 Canadian River Ranch, LLC                       Stasio & Stasio, P.C.
 5826 Cooksey Lane                               303 Main Street, Suite 302
 Waco, TX 76706                                  Fort Worth, Texas 76102
 Dsmith1114@gmail.com
                                                 Marc W. Taubenfeld
 United States Trustee                           McGuire, Craddock & Strother, P.C.
 Gary W. Wright & Shane P. Tobin                 500 N. Akard Street, Suite 2200
 Office of the United States Trustee             Dallas, TX 75201
 903 San Jacinto Blvd., Room 230
 Austin, TX 78701                                David G. Tekell
                                                 Tekell & Tekell, LLP
                                                 400 Austin Avenue, Suite 1000
 Chapter 11 Trustee
                                                 Waco, TX 76701
 Gregory S. Milligan
 3800 N. Lamar Blvd., Suite 200
 Austin, Texas 78756                             Ruben Rene Escobedo
                                                 6800 Park Ten Blvd.
                                                 Suite 135-E
 Parties Requesting Service
                                                 San Antonio, TX 78213
 Eboney Cobb
 Perdue, Brandon, Fielder, Collins & Mott
                                                 J. Michael McBride, Esq.
 500 E. Border Street, Suite 640
 Arlington, TX 76010                             J. Michael McBride, P.C.
                                                 6420 Southwest Blvd., Ste. 112
                                                 Fort Worth, TX 76109
 Mark Cochran
 c/o Mark B. French
                                                 Ray Battaglia
 1901 Central Drive, Ste. 704
 Bedford, TX 76021                               Law Offices of Ray Battaglia, PLLC
                                                 66 Granburg Circle
                                                 San Antonio, TX 78218
 Edwin Paul Keiffer
 Rochelle McCullough, LLP
                                                 William R. Davis, Jr.
 325 N. St. Paul Street, Suite 4500
                                                 David S. Gragg
 Dallas, Texas 75201
                                                 Langley & Banack, Inc.
 Jason M. Rudd and Scott Lawrence                745 E. Mulberry, Suite 700
                                                 San Antonio, TX 78212
 Wick Phillips Gould & Martin, LLP
 3131 McKinney Avenue, Suite 500
                                                 David Wise
 Dallas, TX 75204
                                                 Law Offices of David Wise
 Tara LeDay                                      P.O. Box 1102
                                                 Friendswood, TX 77549
 McCreary, Veselka, Bragg & Allen, P.C.
 P. O. Box 1269
 Round Rock, TX 78680

 Griffith, Jay & Michel, LLP
 c/o Mark J. Petrocchi
 2200 Forest Park Blvd.
 Fort Worth, TX 76110



 040122-15051/4849-5066-1361.1
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 12
                                      of 21




                   EXHIBIT A
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 13
                                      of 21




                                 UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION

 IN RE:                                              §   CHAPTER 11
                                                     §
 DARYL GREG SMITH and,                               §   CASE NO. 21-60162-RBK-11
 CANADIAN RIVER RANCH, LLC                           §   CASE NO. 21-60163-RBK-11
                                                     §   Jointly Administered Under
                                                     §   Case No. 21-60162-rbk
          Debtors.                                   §

           SUMMARY FOR FIRST AND FINAL FEE APPLICATION OF
    O’CONNELL LAW PLLC, SPECIAL COUNSEL TO CHAPTER 11 TRUSTEE, FOR
         ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
              AND REIMBURSEMENT OF EXPENSES INCURRED

                    This pleading requests relief that may be adverse to your
                    interests.

                    If no timely response is filed within 21 days from the date of
                    service, the relief requested herein may be granted without a
                    hearing being held.

                    A timely filed response is necessary for a hearing to be held.

 TO THE HONORABLE RONALD B. KING,
 UNITED STATES BANKRUPTCY JUDGE:

          The Firm of O’Connell Law PLLC (“O’Connell” or “Applicant”), special counsel to

 Gregory S. Milligan (the “Trustee”), chapter 11 trustee in the above-captioned bankruptcy cases

 (the “Chapter 11 Cases”), submits its Summary for its First and Final Application for Allowance

 of Compensation for Services Rendered and Reimbursement for Expenses Incurred

 (“Application”). The following is a summary of the information detailed in the Application.

          A.        Client. Gregory S. Milligan, Chapter 11 Trustee to the Debtors in these cases.

          B.        Requesting Applicant/Firm. O’Connell is special counsel to the Trustee in the
                    Chapter 11 Cases.




 040122-15051/4868-0586-5246.2                   1
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 14
                                      of 21




          C.        Total Amount of Fees and Expenses Requested:

                    Fees: $9,440.00

                    Expenses: $0.00

          D.        Pre-Petition Retainer:

                    None.

          E.        Application Period

                    February 21, 2022 through April 4, 2022

          F.        Timekeepers billing time to this representation are:

  PROFESSIONAL/                           TITLE            HOURLY          TOTAL         TOTAL
  PARAPROFESSIONAL                                          RATE           HOURS          FEES
  Stephen B. O’Connell                     Partner           $400             23.6         $9,440.00
  TOTAL                                                                       23.6         $9,440.00


          G.        Minimum Fee Increments: O’Connell bills time in tenth of hours.

          H.        Expenses: O’Connell is not requesting reimbursement for any expenses.

          I.        Amount Allocated for Preparation of this Fee Application: O’Connell has not
                    requested fees incurred in drafting this Application.

          J.        Prior Applications. O’Connell has not filed any previous Applications in this
                    case.

          K.        Other Co-equal or Administrative Claimants in this Case:

                    a.       Munsch Hardt Kopf & Harr, P.C., counsel to the Debtors;

                    b.       Waller Lansden Dortch & Davis, LLP, counsel to the Trustee;

                    c.       HMP Advisory Holdings, LLC d/b/a Harney Partners, financial advisors to
                             the Trustee;

                    d.       Weaver and Tidwell, L.L.P., as accountant and tax return preparer for the
                             Trustee;

                    e.       Keen-Summit Capital Partners LLC, as real estate broker for the Trustee

                    f.       Land Doctors, Inc., as real estate broker for the Trustee



 040122-15051/4868-0586-5246.2                       2
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 15
                                      of 21




                    g.       Riley-McLean Land, LLC, as real estate broker for the Trustee

 Allowance of O’Connell’s Application will not result in the Debtors’ estates not being able to pay
 all co-equal or superior administrative claims in this case.

          L.        Result Obtained. As detailed in the application, O’Connell assisted the Trustee in
                    laying the necessary groundwork to protect and monetize the estates’ assets by
                    analyzing and providing an opinion on the fee mineral estate of certain properties
                    owned by the Debtors in connection with the sale of such properties. O’Connell
                    expended 23.6 hours, totaling fees in the amount of $9,440.00, in performing this
                    work.

 DATED:             May 17, 2022
                    Austin, Texas

                                                  Respectfully submitted,

                                                  By:      /s/ Stephen B. O’Connell
                                                        Stephen B. O’Connell
                                                        O’Connell Law PLLC
                                                        711 West Seventh Street
                                                        Austin, TX 78701
                                                        Telephone: (512) 327-4028
                                                        Email: soconnell@sbolaw.net

                                                  SPECIAL COUNSEL TO GREGORY S.
                                                  MILLIGAN, CHAPTER 11 TRUSTEE

                                                  WALLER LANSDEN DORTCH & DAVIS, LLP

                                                  By: /s/ Morris D. Weiss
                                                     Morris D. Weiss
                                                     Texas Bar No. 21110850
                                                     Courtney K. Stone
                                                     Texas Bar No. 24093208
                                                     100 Congress Ave., Suite 1800
                                                     Austin, Texas 78701
                                                     Telephone: (512) 685-6400
                                                     Facsimile: (512) 685-6417
                                                     Email:      morris.weiss@wallerlaw.com
                                                                 courtney.stone@wallerlaw.com

                                                  COUNSEL TO GREGORY S. MILLIGAN,
                                                  CHAPTER 11 TRUSTEE




 040122-15051/4868-0586-5246.2                    3
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 16
                                      of 21




                                 CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing document has been served upon all parties on
 the attached Service List either electronically (as an exhibit to the Application) on those parties
 receiving the Court’s ECF service and/or by United States mail on May 17, 2022.

                                               /s/ Morris D. Weiss
                                              Morris D. Weiss




 040122-15051/4868-0586-5246.2                4
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 17
                                      of 21



                                       LIMITED SERVICE LIST

 Debtors (via mail and email)                      Boomer State Outdoors, LLC
 Daryl Greg Smith                                  12384 West 81st Street South
 Canadian River Ranch, LLC                         Sapulpa, OK 74066-8141
 5826 Cooksey Lane
 Waco, TX 76706                                    Catherine Aileen Smith
 Dsmith1114@gmail.com                              5826 Cooksey Lane
                                                   Waco, TX 76706
 Former Counsel to Debtors (via ECF)
 Thomas Daniel Berghman                            Central TX Radiological Associates, PA
 Davor Rukavina                                    3206 4th Street
                                                   Longview, TX 75695
 Munsch Hardt Kopf & Harr, P.C.
 500 N. Akard St., Ste. 3800
                                                   City of Fort Worth
 Dallas, TX 75201
                                                   10000 Throckmorton Street
                                                   Fort Worth, TX 76102
 United States Trustee (via ECF)
 Gary W. Wright & Shane P. Tobin                   Discover Bank
 Office of the United States Trustee               P. O. Box 385908
 903 San Jacinto Blvd., Room 230                   Minneapolis, MN 55438-5908
 Austin, TX 78701
                                                   Dolcefino Consulting
 Chapter 11 Trustee (via ECF)                      3701 Kirby Dr., Suite 560
 Gregory S. Milligan                               Houston, TX 77098
 3800 N. Lamar Blvd., Suite 200
 Austin, Texas 78756                               Griffith, Jay & Michel
                                                   2200 Forest Park Blvd.
 Secured Creditors                                 Ft. Worth, TX 76110
 Farm Credit of Western Oklahoma
 513 S. Mission St.                                Hanszen Laporte, LLP
 Anadarko, OK 73005                                14201 Memorial Drive
                                                   Houston, TX 77079
 Farm Credit Of Western Oklahoma, ACA
 Brian McEntire, VP/Branch Manager Tuttle          Hockley County Cattle Company, Inc.
 PO Box 790, 4955 Farm Credit Dr.                  P.O. Box 825
 Tuttle, OK 73089                                  Levelland, TX 79336

 Internal Revenue Service                          Jessica L. Brown, PLLC
 PO Box 7346                                       9450 SW Gemini Dr., #99088
 Philadelphia, PA 19101                            Beaverton, OR 97008-7105

 Karen Annette Smith                               Law Offices of Elizabeth Parmer
 700 Nettleton Dr.                                 309 W. 7th St., Ste 900
 Southlake, TX 76092                               Ft. Worth, TX 76102

 20 Largest Unsecured Creditors                    Lazy K Cattle Company, LLC
 (Combined)                                        2956 Via Esperanza
 Bank of America                                   Edmond, OK 73013
 Attn: Bankruptcy Department
 475 Cross Point Pkwy                              Lazy K. Cattle Company, LLC
 P. O. Box 9000                                    Dylan Charles Edward
 Getzville, NY 14068                               Rosell Law Group LLP
                                                   101 North Robinson Ave., Suite 700
                                                   Oklahoma City, OK 73102



 040122-15051/4891-4672-1803.1
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 18
                                      of 21


                                            Steve Stasio
 North Texas Tollway Authority              Stasio & Stasio, P.C.
 PO Box 660244                              303 Main Street, Suite 302
 Dallas, TX 75266                           Fort Worth, Texas 76102

 Providence Health Network                  Marc W. Taubenfeld
 Frost-Arnett Company                       McGuire, Craddock & Strother, P.C.
 PO Box 198988                              500 N. Akard Street, Suite 2200
 Nashville, TN 37219                        Dallas, TX 75201

 Stipe Law Firm                             David G. Tekell
 343 E Carl Albert Pkwy                     Tekell & Tekell, LLP
 Mcalester, OK 74501                        400 Austin Avenue, Suite 1000
                                            Waco, TX 76701
 Tekell & Tekell, LLP
 400 Austin Avenue, Suite 1000              Ruben Rene Escobedo
 Waco, TX 76701                             6800 Park Ten Blvd.
                                            Suite 135-E
 T-Mobile                                   San Antonio, TX 78213
 Credence Resource Management LLC
 17000 Dallas Pkwy., Ste 204                J. Michael McBride, Esq.
 Dallas, TX 75248                           J. Michael McBride, P.C.
                                            6420 Southwest Blvd., Ste. 112
 Parties Requesting Service                 Fort Worth, TX 76109
 (via ECF)
 Eboney Cobb                                Ray Battaglia
 Perdue, Brandon, Fielder, Collins & Mott   Law Offices of Ray Battaglia, PLLC
 500 E. Border Street, Suite 640            66 Granburg Circle
 Arlington, TX 76010                        San Antonio, TX 78218

 Mark Cochran                               William R. Davis, Jr.
 c/o Mark B. French                         David S. Gragg
 1901 Central Drive, Ste. 704               Langley & Banack, Inc.
 Bedford, TX 76021                          745 E. Mulberry, Suite 700
                                            San Antonio, TX 78212
 Edwin Paul Keiffer
 Rochelle McCullough, LLP                   David Wise
 325 N. St. Paul Street, Suite 4500         Law Offices of David Wise
 Dallas, Texas 75201                        P.O. Box 1102
                                            Friendswood, TX 77549
 Jason M. Rudd and Scott Lawrence
 Wick Phillips Gould & Martin, LLP
 3131 McKinney Avenue, Suite 500
 Dallas, TX 75204

 Tara LeDay
 McCreary, Veselka, Bragg & Allen, P.C.
 P. O. Box 1269
 Round Rock, TX 78680

 Griffith, Jay & Michel, LLP
 c/o Mark J. Petrocchi
 2200 Forest Park Blvd.
 Fort Worth, TX 76110




 040122-15051/4891-4672-1803.1
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 19
                                      of 21




                   EXHIBIT B
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 20
                                      of 21


                             O’Connell LAW PLLC
                                ATTORNEYS AND COUNSELORS
                                  711 WEST SEVENTH STREET
                                   AUSTIN, TEXAS 78701-2711
                                            _______


                                                                       Stephen B. O’Connell
                                                              Direct telephone: (512) 327-4028
                                                              EMAIL: soconnell@sbolaw.net


                                       April 22, 2022

 Mr. Gregory S. Milligan
 Chapter 11 Trustee for Daryl Smith
 c/o Haney Partners
 8911 Capital of Texas Highway, Suite 2120
 Austin, TX 78759

 Via Email: gmilligan@haneypartners.com


                                                 Re:    Invoice No. 22112
                                                        Daryl Greg Smith-Chapter 11 BR

                                     --Invoice--
 ______________________________________________________________________________

 Date    Hour      Atty            Description of Services                            Amount

 2-23      .50     SBO             Receipt and review of email and attachments        $ 200.00
                                   from Mr. Milligan to Stuart Cammack with
                                   regard to the 913.325 acres in Bosque County.

 3-07      .40     SBO             Receipt and review of emails from Ms. Stone       160.00
                                   regarding my Declaration on Application to
                                   Employ Special Counsel, Application to Employ
                                   Oil and Mineral Counsel and proposed order; review
                                   documents submitted.

 3-08      .30     SBO             Receipt and review of additional emails from Ms.     120.00
                                   Stone regarding Application to Employ Special
                                   Counsel; review conflicts list.

 3-11      .50     SBO             Receipt and cursory review of Dropbox file with      200.00
                                   runsheet and documents compiled by Stuart
                                   Cammack; receipt, review and respond to emails
                                   from Mr. Milligan and Ms. Stone.

 3-17     2.40     SBO             Download and examine runsheet and associated         960.00
                                   documents submitted by Mr. Cammack regarding
                                   913.325 acres in Bosque County.
21-60162-rbk Doc#433 Filed 05/17/22 Entered 05/17/22 13:49:42 Main Document Pg 21
                                      of 21
  Mr. Gregory S. Milligan, Trustee
  April 22, 2022
  Page 2
  ____________________________




 3-19     .40    SBO            Receipt, review and respond to emails from Mr.         160.00
                                Milligan and Ms. Stone regarding retention and
                                hearing set on Tuesday 3/22/22.

 3-22    1.20    SBO            Receipt, review and respond to emails among Mr.         480.00
                                Weiss, Mr. Milligan and Ms. Stone regarding title
                                insurance; preparation for hearing, attend hearing
                                and testify at same.

 3-26    3.20    SBO            Continued examination/analysis of title to 913.325 1,280.00
                                acres in Bosque County.

 3-28    4.00    SBO            Continued analysis of title and begin preparation     1,600.00
                                of draft of Limited Title Opinion.

 3-29    2.40    SBO            Continued analysis of title and work on opinion.        960.00

 3-30    3.30    SBO            Exchange numerous emails regarding mineral title 1,320.00
                                with Mr. Weiss; continued analysis of title and
                                work on preparation of Limited Title Opinion.

 4-4     5.00    SBO            Exchange emails with Stuart Cammack and Mr.          2,000.00
                                Weiss regarding runsheet and title; continued work
                                on Limited Title Opinion; review, revise and finalize
                                Limited Title Opinion.

                                                                                     ________

                         Total Fees:                                                $ 9,440.00

                                                                                     ________

                                BALACE DUE:                                         $ 9,440.00
